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                                  EASTERN DISTRICT OF VIRGINIA
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                                                                                           ALEXANDRIA, VIRGINIA

                                            Alexandria Division


UNITED STATES OF AMERICA


               V.                                             Case No. l;18-MJ-464


ELENA ALEKSEEVNA KHUSYAYNOVA,                                 ISUS.C. §371
                                                              (Conspiracy)
               Defendant.
                                                              UNDER SEAL


                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, David Holt, being duly sworn under oath, do hereby depose and state:

                                        INTRODUCTION


        1.     I am a Special Agent with the Federal Bureau of Investigation ("FBI")and have

been so employed since August 2008. I am presently assigned to the Washington Field Office

where I am responsible for investigations of foreign influence operations and other national

security matters with a cyber nexus. I have also conducted national security investigations of

foreign intelligence services and the targeting of critical U.S. infrastructure. As a Special Agent,

I have received specialized training and instruction in the field of national security investigations

and am authorized to investigate violation of laws of the United States and to execute warrants

issued under the authority of the United States.

       2.      I am submitting this affidavit in support of a criminal complaint and arrest

warrant charging the defendant, ELENA ALEKSEEVNA KHUSYAYNOVA,with Conspiracy

to defraud the United States, in violation of Title 18, United States Code, Section 371.

       3.      The statements contained in this Affidavit are based on my experience and

background as a criminal investigator, on information provided to me by other members of the



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